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2. mason REPRESENTED
Bryant, Andrew

 

VOUCHER NUMBER

 

 

3. MAG. DKTJDEF. NUMBER 4. D[ST. DKTJDEF. NUMBER

l:O3-010033-002

5. APPEALS DKTJDEF. NUMBER 6. OTHER DK'I`. NUMBER

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U.S. v. Bryant Fclony

 

 

9. TYrr: ri:RsoN RF.PRESENTEL-
Adult Dei`endant

10. R.EF R.ESENTAT|ON T\’Pl".`

(See instructional

Appeal of Other Mattcrs

 

 

ll. OFFENSE(S) CH ARG ED (C|ie U.S. Code, Title & Sectlon)

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l) 21 841A=CD. F -- CONTROLLED SUBSTANCE - SELL, DISTRIBU TE. OR DISPENSE

 

12. A ORNEY'S NAME
AN M.AILINC ADD

West, Steven L.

P 0 Box 400 '
5 Broadway

McKenzie TN 38201

Férlt Narne. M.l., Lalt Name, lncludlng any lull'ix)

Telephune Nurnher: (731) 352'5556
]4. NAME AND MAlLING ADDRESS (jF LAW FIRM (nnly provide per inlrructiona)

 

 

13. COURT ORDER

[Xi 0 Appolnlinz Cnuuee|

[I F Subs F or Federal Defander
[i F Suhe For Pane| Atlorney

Prior Attorney‘| Name:

Co-Couneel
Suhe For Retalned At\orney

\:l C
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l:l Y Stndhy Counae|

 

Appolalmeot Date:

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(1] doel not ruled to waive eounlal, and became the inlereele ol'jul¢ice so require. the

attorney whose - --e appeare in l¢em 1211 appointed m repreleul this non in thin rue,
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CLAIMED HOURS AMOUNT
15. a. Arraignment andfor Plea 6
b. Bail and Deteotioo Hearings
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:' g. Appeals Court
h. Other (Speclfy on additional sheets)
(Rate per hour - 5 ) TOF¥'ALS:
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v.? b. Obtaining and reviewing records
n c. Legal research and brief writing
g d. Travel time
3 e. investigative and Other work (sp¢¢lry on additional mem
§ (Rate per hour * 5 ) TOTALS:
17. Travel Expenses (lodglng, pnrking, meals, mileage. etc.)
18. Other Expeoaes (other than expert, moscripu, etc.)
19. CERT|F|CA'H()N OF A'I'TORNEY.'PAYEE FOR TH.E PER.|OD 0 F SERVICE 20. APPOINTMENT TERMINAT!|ON DATE 21. CASE DISPOSITION

lF OTHER T'H.AN CASE COMPLET]ON

 

 

22. C l.AlM STATUS m F|nal hymenl g luler|m Paymaal Nomb¢r

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l nvear ora|l'lrm the truth or correctness of the above etatements.

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25. TRA\"EL EXPENSES

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26. OT|-IER EXPENSES z‘!. TOTAL AMT.AP?R!CERT

 

 

23. SIGNATURE OFTHE PRESlDlNC JUDICIAL OFF|CER

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3 l. TRAV'EL EXPENSES

31. OTHER EXPENSES JJ. TOTAL AMT.APPROVED

 

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34. SICNATU`RE OF CHIEF JUDGE, COURT OF APP EALS (OR DELEGATE) Paymenl

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Notice of Distribution

This notice confirms a copy of the document docketed as number 132 in
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i\/lemphis7 TN 38103

Steven L. West
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Honorable J ames Todd
US DISTRICT COURT

